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                                     UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

Adam Strauss                                        §
v.                                                  §                  Case No. 4:22-cv-4079
NewRez LLC                                          §

                                         JOINT SETTLEMENT NOTICE

          Plaintiff Adam Strauss and defendant NewRez LLC dba Shellpoint Mortgage Servicing

file this notice to advise the court the parties have settled their dispute. The settlement resolves all

claims Mr. Strauss asserted against Shellpoint. The parties are preparing a formal, written

settlement agreement and Shellpoint intends to file notice of stipulation of dismissal with prejudice

within thirty (30) days from the date of this notice. The parties will bear their own attorneys' fees,

costs, and expenses.




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Date: January 3, 2023                           Respectfully submitted,
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                                                SHELLPOINT MORTGAGE
                                                SERVICING

                                                  s/ Erick DeLaRue – with permission
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                                           CERTIFICATE OF SERVICE

          I certify I served this document on January 3, 2023 as follows:

VIA ECF
Erick DeLaRue
The Law Office of Erick DeLaRue, PLLC
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Plaintiff's counsel
                                                          s/ Taylor D. Hennington
                                                        Taylor D. Hennington




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